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SO ORDERED.

SIGNED this 25 day of January, 2012.




                                                 James P. Smith
                                        United States Bankruptcy Judge



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF GEORGIA
                                    ATHENS DIVISION

     In the Matter of:                            :       Chapter 7
                                                  :
     JOHN BARRY COLVIN,                           :
                                                  :
                           Debtor                 :       Case No. 10-32367 JPS
                                                  :
     RAYMOND O. BOYD and                          :
     JETS R US, LLC,                              :
                                                  :
                           Plaintiffs             :
                                                  :
                    vs.                           :
                                                  :
     JOHN BARRY COLVIN,                           :
                                                  :       Adversary Proceeding
                           Defendant              :       No. 11-3035


                                             ORDER

                    Plaintiffs filed their Motion To Strike Defendant’s Answer And For

     Protective Order alleging that Defendant had failed to respond to interrogatories and

     document requests. Plaintiffs requested that the Defendant’s answer be stricken, that they
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    be awarded attorney’s fees and that they be given additional time to respond to discovery

    served upon them by Defendant.

                   After notice and hearing, and for the reasons announced in open court, it is

                   ORDERED AND ADJUDGED as follows:

                   1. On or before February 10, 2012, Defendant shall respond under oath to

    the interrogatories and to the document requests previously served by Plaintiffs in

    accordance with Bankruptcy Rules 7033 and 7034.

                   2. On or before March 14, 2012, Plaintiffs shall respond to any discovery

    requests previously served by Defendant.

                   3. No further sanctions shall be awarded to either party at this time.

                   4. On March 21, 2012, at 1:30 p.m., in the United States Courtroom,

    Second Floor, Post Office Building, 115 E. Hancock Avenue, Athens, Georgia, a hearing

    is scheduled on Plaintiffs’ Motion In Limine To Determine Collateral Estoppel Effect On

    Certain Evidence. In conjunction with that hearing, and upon motion by either party, this

    Court will consider additional sanctions for the failure of either party to comply with this

    order. Any such motion shall be filed and served so that the opposing party receives such

    motion at least by March 18, 2012.

                   5. The Scheduling Order entered by this court on November 1, 2011 is

    hereby set aside. The Court will enter a revised Scheduling Order following the hearing

    on March 21, 2012.



                                    * END OF DOCUMENT *


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